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1   Charles M. Tebbutt, WSBA #47255
    Jonathan D. Frohnmayer, pro hac vice
2   Law Offices of Charles M. Tebbutt, P.C.
    3026 NW Esplanade
3   Seattle, WA 98117
    (541) 285-3717
4
    Additional Counsel Identified on Signature Page
5
                   IN THE UNITED STATES DISTRICT COURT
6                FOR THE EASTERN DISTRICT OF WASHINGTON

 7 COMMUNITY ASSOCIATION FOR                Case No. 1:19-CV-3110-TOR
   RESTORATION OF THE
 8 ENVIRONMENT, INC., a Washington
   non-profit corporation; FRIENDS OF
 9 TOPPENISH CREEK, a Washington non- PLAINTIFFS’ REPLY IN SUPPORT OF
   profit corporation; and CENTER FOR
   FOOD SAFETY, a Washington, D.C. non- MOTION FOR AN AWARD OF
10 profit corporation,                      ATTORNEYS’ AND EXPERT
                                            WITNESSES’ FEES AND COSTS (ECF
11              Plaintiffs,
                                            No. 184)
       v.
12 AUSTIN JACK DECOSTER, an individual,
   DECOSTER ENTERPRISES, LLC, a
13 Delaware limited liability company,
   AGRICUTURAL INVESTMENT-FUND
14 II, LLC, a Delaware limited liability
   company, IDAHO AGRI INVESTMENTS,
15 LLC, an Idaho limited liability company,
   IDAHO DAIRY HOLDINGS, LLC, an
16 Idaho limited liability company, DRY
   CREEK DAIRIES, LLC, an Idaho limited
17 liability company, WASHIGNTON AGRI
   INVESTMENTS, LLC, a Washington
18 limited liability company, WASHINGTON
   DAIRY HOLDINGS, LLC, a Washington
19 limited liability company, DBD
   WASHINGTON, LLC, a Washington
20

    PLFS’ REPLY IN SUPP. OF MOT.
    FOR FEES AND COSTS (ECF No. 184)                                           -i
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 1 limited liability company; and SMD, LLC, a
   Washington limited liability company,
 2              Defendants.

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     PLFS’ REPLY IN SUPP. OF MOT.
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 1         Plaintiffs respectfully submit this Reply in Support of Plaintiffs’ Motion for

 2   Fees and Costs (ECF No. 184). Defendants’ opposition is remarkable for what it

 3   lacks: any specific, substantive arguments that Plaintiffs’ attorneys were

 4   unreasonable in their time or rates. Instead, Defendants resort to conclusory and

 5   unsupported rhetoric, ignoring cases cited by Plaintiffs and inviting the Court to fly

 6   speck Plaintiffs’ time records without any specific objections to any particular time

 7   entry, save for entries totaling just 106.5 out of Plaintiffs’ 2,997.9 attorney hours

 8   (i.e., 3.5% of total hours). Defendants bore the “burden of rebuttal that requires

 9   submission of evidence to the district court challenging the accuracy or

10   reasonableness of the hours charged or facts asserted by the prevailing party[.]”

11   Gates v. Deukmejian, 987 F.2d 1392, 1397-98 (9th Cir. 1992) (citation omitted).

12   Defendants come up far short, and the Court should grant Plaintiffs’ Motion as

13   submitted, together with further “fees on fees,” as detailed in Appendix A hereto.

14   I.    PLAINTIFFS PREVAILED, AND NO SPECIAL CIRCUMSTANCES
           WARRANT AGAINST A FEES AND COST AWARD
15
           While Plaintiffs are undisputedly the prevailing party, Defendants instead
16
     appear to argue that “special circumstances” exist to such a degree that Plaintiffs’
17
     demand should be reduced by over 80% to $350,000. ECF No. 186, “Fee Opp.” at
18
     6-12. To prop up this argument, Defendants rely on a concurrence from a Tenth
19
     Circuit case, failing to provide any relevant citation to RCRA fee decisions in this
20

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 1   Circuit or in this District. Id. at 7 (citing Browder v. City of Moab, 427 F.3d 717

 2   (10th Cir. 2005)). Nothing in Browder suggests the Court has discretion to simply

 3   deny the instant motion, and Browder explicitly acknowledges the Supreme

 4   Court’s instruction in Hensley that a prevailing party “should ordinarily recover an

 5   attorney’s fee unless special circumstances would render such an award unjust.”

 6   Browder, 427 F.3d at 721 (emphasis in original).

 7         The controlling precedent is St. John’s Organic Farm v. Gem Cnty.

 8   Mosquito Abatement Dist., 574 F.3d 1054, 1064 (9th Cir. 2009), in which the

 9   Ninth Circuit held that it is “the rule rather than the exception” that fees and costs

10   are awarded to the prevailing party. Only “special circumstances” warrant a

11   departure from the rule. See also Cmty Ass’n for Rest. of the Env’t v. Cow Palace,

12   LLC, 13-CV-3016-TOR, 2016 U.S. Dist. LEXIS 92110, at *9-10 (E.D. Wash. Jan.

13   12, 2016) (applying holding of St. John’s Organic Farm to RCRA fee motion).

14         Confusingly, Defendants claim that “this doctrine does not apply,” but in the

15   next sentence argue the Court should reduce Plaintiffs’ award to just $350,000,

16   apparently based on the same doctrine. Fee Opp. at 9-10. At no point do

17   Defendants identify any specific “special circumstances” that would warrant a

18   departure from the rule. Thus, the “lodestar” analysis should apply giving due

19   “defer[ence] to the winning lawyer’s professional judgment as to how much time”

20   was required. Ryan v. Editions Ltd. W., Inc., 786 F.3d 754, 763 (9th Cir. 2015).

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 1   II.   NON-FORUM RATES SHOULD BE AWARDED

 2         Defendants next weakly challenge the hourly rates that Plaintiffs request,

 3   making five closely related arguments, each addressed in turn:

 4         First, Defendants claim Plaintiffs did not carry their burden to show that

 5   non-forum rates should be utilized. Defendants proffer no contrary evidence that

 6   other attorneys in this forum would have accepted representation on a contingency

 7   fee basis. Defendants muster only bare argument, devoid of factual or legal

 8   citation. See Fee Opp. at 13-14.

 9         Plaintiffs carry their burden for non-forum rates by showing that local

10   counsel is unavailable, either because of unwillingness or inability to perform due

11   to lack of experience, expertise, or specialization. See Barjon v. Dalton, 134 F.3d

12   496, 500 (9th Cir. 1997). Defendants do not and cannot refute that the only

13   attorneys bringing RCRA litigation against CAFOs in Washington have been the

14   undersigned counsel. ECF No. 184 at 14.

15         Defendants claim that Friends of Toppenish Creek did not attempt to find

16   other local attorneys. ECF 186 at 13. Ms. Mendoza’s declaration plainly states that

17   “[n]o other law firms in Washington have been willing to even represent us, let

18   alone take the personal and financial risks” that Mr. Tebbutt and Plaintiffs’

19   attorneys have shouldered. See ECF No. 184-6 ¶ 11. In the eight years since Cow

20

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 1   Palace, not one other Washington law firm, or outside Washington firm for that

 2   matter, has taken up a CAFO enforcement action in the state.

 3         Defendants also misrepresent the declarations of Messrs. Tebbutt and

 4   Marshall in arguing that there are attorneys with a RCRA environmental specialty

 5   in the forum who would litigate these cases. See Fee Opp. at 13-14. Mr. Tebbutt

 6   states that “no other firms in Washington” would agree to this type of enforcement

 7   action “without the expertise of my firm” also being involved. ECF No. 184-1 ¶ 35

 8   (emphasis added). Mr. Marshall similarly declares that no other law firms in

 9   Washington, including his own, would take on a RCRA CAFO enforcement action

10   if it didn’t involve Tebbutt’s firm. ECF No. 184-4. Notably absent from

11   Defendants’ submissions are declarations from local firms claiming they would

12   agree to represent Plaintiffs on the same terms that counsel does.

13         Finally, Defendants conflate the issue of non-forum rates and Plaintiffs’

14   obligation to support their claimed forum rates. Fee Opp. at 13 (appearing to argue

15   that Plaintiffs’ expert witness, Mr. Kampmeier, makes an opinion only as to forum

16   rates). To be clear, Plaintiffs seek non-forum rates for Tebbutt and Snyder based on

17   their experience, skill, and expertise, as Appendix A to ECF No. 184 states

18   (national non-forum rate of $735 and $588/hour, respectively). Mr. Kampmeier, on

19   the other hand, opines that Mr. Tebbutt could achieve a forum rate of $640/hour,

20   and Mr. Snyder a forum rate of $512/hour. ECF No. 184-7 ¶¶ 18-19. Mr.

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 1   Kampmeier also recognizes, in the next sentence, that “Mr. Tebbutt could seek

 2   national rates instead of forum rates given the nature and scope of his practice and

 3   professional expertise.” Id. ¶ 18. Mr. Kampmeier’s declaration thus supports both

 4   the forum and non-forum rates that Plaintiffs’ request.

 5         Second, in contesting the forum rates sought by Plaintiffs’ counsel, Fee Opp.

 6   at 14, Defendants rely upon the declaration of Mr. Kevan Montoya, ECF No. 187,

 7   an attorney with a small “general practice” that, according to the firm’s website,

 8   focuses on personal injury matters: “car accidents, personal injury, traumatic brain

 9   injury, truck accidents, wrongful death.” While Mr. Montoya opines that Plaintiffs’

10   counsel’s hourly rates are too high, conspicuously absent from Mr. Montoya’s

11   declaration is any indication that he practices complex environmental law in

12   federal court, let alone RCRA citizen suits. Mr. Montoya provides no evidentiary

13   basis for his opinions beyond “occasionally hear[ing] attorneys arguing about issue

14   of fees,” “occasionally check[ing] with other attorneys who practice in Yakima

15   County,” and looking at “judicial opinions and pleadings in cases in which” he was

16   aware other attorneys had been awarded fees. Id. ¶ 3. No data points, reported

17   decisions, representation agreements, or other evidence is provided.

18         Unsurprisingly, Mr. Montoya nakedly opines that Plaintiffs’ counsel should

19   be awarded substantially lower hourly rates than requested and lower than this

20   Court’s recent awards. ECF No. 184 at 16 (citing a case in which this Court

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 1   adopted the USAO Attorney’s Fees Matrix consistent with rates sought here).

 2   Indeed, Mr. Montoya’s five-year increment analysis results in lower hourly rates

 3   than the Court awarded to Tebbutt, Snyder, and Marshall in the Cow Palace fee

 4   petition over seven years ago, a case Mr. Montoya has apparently not read.

 5         Further undercutting Mr. Montoya’s opinions are the hourly rates that

 6   Defendants’ own attorneys charged. As the Court is aware, Defendants were

 7   represented by a host of national law firms, which speaks to the degree of skill,

 8   competency, and expertise needed to litigate this matter. Defendants’ counsel have

 9   provided their rates in response to earlier subpoenas. Second Tebbutt Decl. ¶ 4. As

10   Defendants challenged the reasonableness of Plaintiffs’ rates, these rates are now

11   relevant. Real v. Cont'l Grp., Inc., 116 F.R.D. 211, 213 (N.D. Cal. 1986)

12   (“Defendant’s counsel’s hourly rate is similarly relevant to a determination of

13   reasonable fees under Hensley.”). The reported rates are set forth in Appendix B

14   hereto and explained further in paragraph 4 of the Second Tebbutt Declaration.

15   Sidley Austin refused to fully comply with the subpoena, but lead counsel Franke

16   Volpe represented that his rate for this case was higher than even the alternative

17   $735/hour national rate that Plaintiffs request for Mr. Tebbutt. Second Tebbutt

18   Decl. ¶ 4. The rates for Messrs. Marten ($890), Volpe ($735+), Fite ($675), Fried

19   ($625), Monahan ($575), Krabill ($575), and Fielding ($575) comport with or even

20   exceed Plaintiffs’ requested rates and are significantly higher than the speculative

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 1   forum rates provided in Mr. Montoya’s declaration—where an attorney with 16

 2   years of experience, like Mr. Krabill, should charge just $260-310/hour. ECF No.

 3   187 at 7. Defendants’ own rates thus substantially undercut their position about the

 4   appropriateness of rates for Plaintiffs’ counsel.

 5          Third, Defendants provide the Court with the settlement offer made in

 6   accordance with the Consent Decree before pursuing this fee litigation. ECF No.

 7   188-1. They ask the Court to “consider” that evidence in evaluating a proper

 8   hourly rate. Importantly, those rates were intended to adduce a settlement on fees

 9   and costs under FRE 408 and are not the rates that Plaintiffs now seek following

10   consulting with expert witnesses and reviewing recent cases on forum rates. The

11   email Mr. Tebbutt sent to Defendants makes clear that Plaintiffs “reserve the right

12   to amend this documentation should the defendants require a full fee petition to the

13   Court[,]” which Defendants did when they declined Plaintiffs’ settlement offer.

14   The Court should not rely upon a settlement offer in an effort to avoid motion

15   practice as evidence for reasonable hourly rates. Fed. R. Evid. 408.

16         Fourth, Defendants make omnibus and conclusory arguments about the first

17   three Kerr factors, arguing that this case was not complex but rather a simple,

18   straightforward discovery and document review matter. Fee Opp. at 16. The

19   undersigned are unaware of any “discovery case” that involves veil piercing, ten

20   different defendant shell organizations all sharing finances and the degree to which

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 1   they “contribute” to the handling of waste under RCRA, expert reports totaling

 2   hundreds of pages, fact and expert depositions, discovery disputes, spoliation of

 3   evidence, and failure to adhere to the basic fundamentals of the civil rules (such as

 4   arguing that initial disclosures are not required), and extensive on-the-ground

 5   investigations. While Cow Palace established the legal principle that manure may

 6   constitute a solid waste under RCRA, each imminent and substantial endangerment

 7   case requires citizen-plaintiffs to satisfy a high burden of proving, inter alia, (1)

 8   that defendants treated their manure as a wasteful byproduct; (2) that the disposal

 9   or discarding of that manure caused and continues to cause environmental damage;

10   and (3) that damage presents an endangerment to human health and the

11   environment. Indeed, had this been a mere “discovery” case, one must wonder why

12   Defendants retained expensive national law firms to defend them.

13         Fifth, Defendants proffer Mr. Stephen—an agronomist and eventual expert

14   witness—to opine about how the Consent Decree duplicates the requirements of

15   Defendants’ CAFO permits. ECF No. 189. Nowhere does Mr. Stephen present a

16   specific comparison of the requirements of the Decree versus the CAFO Permit, let

17   alone cite to any specific portion of the CAFO Permit. Instead, Mr. Stephen

18   devotes one page of his declaration to the areas in which he believes the CAFO

19   permit is the same as the Consent Decree. ECF No. 189 at 10-11. Mr. Stephen’s

20   once again “hypothetical musings” are vacuous, as shown by Mr. Erickson’s

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 1   comparison of permit versus Consent Decree requirements. Declaration of David

 2   Erickson (“Erickson Decl.”) ¶ 7; see Cmty. Ass'n for Restoration of the Env't v.

 3   Cow Palace, Ltd. Liab. Co., 80 F. Supp. 3d 1180, 1225 (E.D. Wash. 2015). The

 4   Consent Decree obligates Defendants to undertake significantly more work in an

 5   accountable manner than what the CAFO Permit requires, and the terms of the

 6   Decree are enforceable in this Court and subject to contempt proceedings.

 7   III.   PLAINTIFFS’ TIME WAS NEITHER EXCESSIVE NOR
            UNNECESSARY, NOR WERE PLAINTIFFS’ EXPERT COSTS.
 8
            The final section of the fee opposition takes issue with three points: that Ms.
 9
     Loda and Ms. Steiner spent 40.3 and 24.2 hours preparing unfiled summary
10
     judgment and Daubert motions, respectively; that Ms. Steiner spent a number of
11
     time entries researching RCRA liability; and that David Erickson’s services were
12
     “excessive.” Fee Opp. at 17-18.
13
            The fact that Ms. Loda and Ms. Steiner’s motions were not filed is
14
     irrelevant. The Ninth Circuit has consistently allowed all hours to be awarded even
15
     where only some claims were successful, where either the facts or law are in common.
16
     See, e.g., Manhart v. City of Los Angeles, 652 F.2d 904, 909 (9th Cir. 1981) (awarding
17
     fees for all hours spent in pursuit of ultimate goal, despite dismissal of several claims).
18
     Those motions were not even unsuccessful; they were merely made moot by the
19
     settlement. Given Defendants’ pattern of repeatedly impeding settlement efforts,
20

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 1   which Defendants never contested, Plaintiffs had no choice but to prepare

 2   diligently for trial. Second Tebbutt Decl. ¶ 5; see also ECF No. 184-1, ¶¶ 19, 29

 3   (“First Tebbutt Decl.”). In addition, Ms. Steiner’s time researching RCRA liability

 4   helped secure Mr. DeCoster’s ultimate responsibility and was essential to

 5   Plaintiffs’ prosecution of the case. Second Tebbutt Decl. ¶ 6. That time, too, should

 6   be compensated fully.

 7          Finally, Plaintiffs have already detailed the indispensable nature of Mr.

 8   Erickson’s services. See First Tebbutt Decl. ¶¶ 47-49. Because of Defendants’

 9   cursory challenge, however, Plaintiffs invite the Court to review his expert report.

10   Erickson Decl. Ex. 3. The fact that it was not filed, unlike in Cow Palace, is, as

11   with Ms. Loda and Ms. Steiner’s motions, irrelevant; it was nonetheless essential

12   to prosecution, trial preparation, and settlement. Second Tebbutt Decl. ¶ 9.

13          For all these reasons, Plaintiffs should be awarded the full fees and costs of

14   $1,800,662 (or higher if out-of-forum rates are awarded) as detailed in Appendix

15   A hereto, from which $350,000 will be subtracted, as well as any further fees and

16   costs incurred after the date of this filing.

17          Respectfully submitted this 25th Day of October, 2023.

18    /s/ Charles M. Tebbutt
      Charles M. Tebbutt, WSBA #47255
19    Jonathan D. Frohnmayer, pro hac vice
      Law Offices of Charles M. Tebbutt
20    3026 NW Esplanade

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 1    Seattle, WA 98117
      Tel: (541) 285-3717
 2    charlie@tebbuttlaw.com

 3    /s/ Daniel C. Snyder
      Daniel C. Snyder, pro hac vice
 4    PUBLIC JUSTICE
      1620 L Street NW, Suite 630
 5    Washington, DC 20036
      Tel: (202) 861-5251
 6    dsnyder@publicjustice.net

 7    /s/ Andrea K. Rodgers
      ANDREA K. RODGERS
 8    WSBA #38683
      Law Offices of Andrea K. Rodgers
 9    3026 NW Esplanade
      Seattle, WA 98117
10    andrearodgers42@gmail.com
      Tel: (206) 696-2851
11
      /s/ Toby J. Marshall
12    TOBY J. MARSHALL
      WSBA #32726
13    Terrell Marshall Law Group PLLC
      936 North 34th Street, Suite 300
14    Seattle, Washington 98103-8869
      tmarshall@terrellmarshall.com
15    Tel: (206) 816-6603

16    /s/ Amy van Saun
      AMY VAN SAUN, pro hac vice
17    CENTER FOR FOOD SAFETY
      303 Sacramento Street, 2nd Floor
18    San Francisco, CA 94111
      avansaun@centerforfoodsafety.org
19    Tel: (415) 826-2770

20    Counsel for Plaintiffs

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     FOR FEES AND COSTS (ECF No. 184)                                        - 11
     Case 1:19-cv-03110-TOR     ECF No. 190   filed 10/25/23   PageID.2996 Page 14 of 18




 1
                              CERTIFICATE OF SERVICE
 2
          I hereby certify that on October 25, 2023, I electronically served the foregoing
 3   document via email to the following counsel of record:

 4
           Gary H. Baise                    vthedgerow@aol.com
 5         Jay Carroll                      jcarroll@hnw.law
           Amy van Saun                     avansaun@centerforfoodsafety.org
 6         Toby Marshall                    tmarshall@terrellmarshall.com
           Blythe H. Chandler               bchandler@terrellmarshall.com
 7         Andrea K. Rodgers                andrearodgers42@gmail.com
           Daniel C. Snyder                 dsnyder@publicjustice.net
 8

 9                                                /s/ Jonathan D. Frohnmayer
                                                  Jonathan D. Frohnmayer
10                                                Law Offices of Charles M. Tebbutt
11

12

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14

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     PLFS’ REPLY IN SUPP. OF MOT.
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        Appendix A - Fees and Costs, Supplemental and Total

                         Table 1. Supplemental Fee Hours
                         Attorney           Firm        Hours
                Charles M. Tebbutt         LOCMT             32.8
                Daniel C. Snyder           PJ                19.8
                Jonathan D. Frohnmayer     LOCMT             76.6
                Andrea Rodgers             LOAKR             1.0
                Amy van Saun               CFS               4.0
                Blythe Chandler            TM                2.3
                Subtotal                                     136.5
                        Secretary               Firm            Hours
                Marisela Taylor            LOCMT             0.50



                           Table 2. Supplemental Costs
                           Expert Witness         Cost
                     Dave Erickson/WET             $1,125
                       Litigation: Research            Cost
                     Law Offices of CMT            $562
                     Subtotal                      $1,687




                                   Plaintiffs' Reply - Appendix A                                   1
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                                Appendix A - Fees and Costs, Supplemental and Total (Cont.)

                                                                  Table 3. Total Fees*
           A.                  B.             C.         D.          E.               F.                 G.          H.            I.        J.         K.

                                                                         USAO Rate
                                                    USAO       USAO        2023-24                                 Alt. Rate
                                                   Rate 2020- Rate 2023- (Locality                      Rate      Requested Laffey Rate
        Attorney              Firm      Years Exp.     21         24      Adjusted)                   Requested   (National) 2023-24       Hours     Total Due
Charles M. Tebbutt        LOCMT         35           $665        $735          $640               $640            $735      $1,057        827.5     $529,600
Daniel C. Snyder          LOCMT/PJ      13           $532        $588          $512               $512            $588      $878          606.4     $310,477
Jonathan D. Frohnmayer    LOCMT         10           $452        $499          $435               $425                      $777          443.6     $188,530
Parker Jones              LOCMT         4            $380        $420          $366               $330                      $437          1,034.3   $341,319
Andrea Rodgers            LOAKR         21           $621        $686          $598               $590                      $1,057        13.5      $7,965
Amy van Saun              CFS           12           $532        $588          $512               $490                      $878          20.6      $10,094
Jenny Loda                CFS           11           $532        $588          $512               $480                      $878          43.7      $20,976
Amanda Steiner            TM            25           $621        $686          $598               $590                      $1,057        112.0     $66,080
Toby Marshall             TM            21           $621        $686          $598               $590                      $1,057        5.8       $3,422
Blythe Chandler           TM            13           $532        $588          $512               $512                      $878          7.6       $3,891
Eden B. Nordby            TM            2            $333        $368          $321               $280                      $437          19.4      $5,432
Subtotal                                                                                                                                  3,134.4   $1,487,786

                                                                                                        Rate                Laffey Rate
  Paralegal/Secretary         Firm      Years Exp.                                                    Requested              2023-24       Hours     Total Due
Bradford Kinsey           TM            20+                                                       $125                                    2.7       $338
Jessica A. Langsted       TM            6                                                         $150                      $239          15.3      $2,295
Lisa Reed                 PJ            20+                                                       $195                      $239          14.3      $2,789
Marisela Taylor           LOCMT         20+                                                       $150                                    12.3      $1,845
Subtotal                                                                                                                                  44.6      $7,266
Total - Fees                                                                                                                              3,179.0   $1,495,052


* Column explanations in Paragraph 13 of first Declaration of Charles M. Tebbutt, ECF No. 184-1, apply here. Total Due (Column K) based on Column G rates.




                                                                     Plaintiffs' Reply - Appendix A                                                              2
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    Appendix A - Fees and Costs, Supplemental and Total (Cont.)

                              Table 4. Total Costs

                     Expert Witness - Science Total Cost
                     Dave Erickson/WET             $222,914
                     Michael Russelle              $22,300
                     Keeve Nachman                 $3,600
                     Subtotal                      $248,814
                            Litigation:
                      Court/service, Postage,
                        Printing, PACER,
                         Research, etc. &
                            Consulting              Total Cost
                     Law Offices of CMT            $27,056
                     Terrell Marshall              $15,816
                     Paul Kampmeier                $13,924
                     Subtotal                      $56,796
                     Total - Costs                 $305,610



                             Table 5. Grand Total
                     Total - Fees and Costs $1,800,662
                     Amount Paid Previously $350,000
                     Total Due Now                 $1,450,662




                                 Plaintiffs' Reply - Appendix A                               3
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                       Appendix B: Defendants' Counsel Hourly Rates

                                              Bar
                                                                                   Years of    Year(s) of
       Attorney              Firm           Admission              State                                      Hourly Rate
                                                                                   Practice   Rep. of Defs.
                                              Year

Brendan Monahan        Stokes Lawrence     1992                 WA            31              2022-23         $575
Kent Krabill           Lynn Pinker Hurst   2007                 TX            16              2019            $575
Jeremy Fielding        Lynn Pinker Hurst   2003                 TX            20              2019            $575
Russell Herman         Lynn Pinker Hurst   2012                 TX            11              2019            $410
Michael Kalis          Lynn Pinker Hurst   2014                 TX            9               2019            $390
Brad Marten            Marten Law          1981                 DC            42              2021-22         $890
Stephen Odell          Marten Law          1990                 OR            33              2020-21         $435
Jeff Kray              Marten Law          1992                 WA            31              2019-22         $495/$625
Jessica Ferrell        Marten Law          2005                 WA            18              2021            $410
Merissa Moeller        Marten Law          2015                 OR            8               2019            $315
Alexa Shasteen         Marten Law          2015                 OR            8               2020            $315
Michael Smith*         Marten Law          2023                 OR            <1              2020            $280
Ana Nina               Marten Law          2021                 WA            2               2021            $355
Jack Ross              Marten Law          2020                 WA            3               2021            $345
Kameron Schroeder*     Marten Law          pending              OR            <1              2022            $405
Zachary Zahner*        Marten Law          pending              DC            <1              2022            $405
Lawson Fite            Marten Law          2005                 OR            18              2019-22         $675
Sara Cloon             Marten Law          2017                 WA            6               2021-22         $465
Jennifer Hammitt       Marten Law          2019                 WA            4               2019-20         $385
Frank Volpe            Sidley Austin       1998                 DC            25              2022-23         $735+
Jacquelyn Fradette     Sidley Austin       2016                 DC            7               2022-23         -
Christopher Eiswerth   Sidley Austin       2015                 DC            8               2022-23         -
Robin Wechkin          Sidley Austin       1995                 WA            28              2022-23         -
John Jay Carroll       Halverson NW        1987                 WA            36              2022-23         $425
Gary Baise             Olsson Frank        1974                 DC            49              2022-23         $375
Stewart Fried          Olsson Frank        1998                 DC            25              2022-23         $625


* Summer Associate at time




                                                  Plaintiffs' Reply - Appendix B                                            1
